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                                                          In re: Zantac (Ranitidine) Products

    Lability Litigation,




                                        himself/herself
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                                                                 Check all that apply




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